         Case 1:16-cv-00426-LAS Document 3 Filed 04/15/16 Page 1 of 1
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                                             No. l6-426 C
                                         Filed: April 14,20t6

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 KEVIN ALBERTO PORTER,
                                                                                   APR   I{   206
                         Plaintiff,

                                                                                '!'?*"^?'8li#.
 THE UNITED STATES,

                         Defendant.



                                               ORDER

        On April 4,2016, plaintiff, proceeding pro se, filed a complaint seeking various forms of
relief. Plaintiff, a prisoner incarcerated in the Harris County Sheriffs Office, seeks damages for
physical and emotional distress caused by various alleged torts committed by state and county
officials. In his complaint, plaintiff alleges , inter alia, that Texas county officials mentally and
physically abused him, denied him access to commissary, and forged his signature.

         This Court's authority to hear cases is primarily defined by the Tucker Act, which grants
this Court subject matter jurisdiction over claims against the United States that are founded on a
money-mandating source of law and do not sound in tort. 28 U.S.C. $ la9l(aXl). Upon sua
sponte review, this Court finds plaintiff s allegations do not give rise to any cause of action over
which this Court has subject-matter jurisdiction. Plaintiffs complaint sounds in tort, and torts
are excluded from this Court's jurisdictional grant. The Court has no authority to decide
plaintiff s case, and therefore must dismiss the complaint pursuant to Rule l2(h)(3) of the Rules
ofthe Court of Federal Claims.
        Further, even if this Court did have tort jurisdiction, the Court has nojurisdiction over
state actions, state officials, or private citizens. This Court's sole jurisdiction is over the United
States of America and actions taken by federal officials generally conceming money or its
equivalents in property.

       As such, plaintiff s complaint is DISMISSED, pursuant to RCFC 12(hX3). The Clerk is
hereby directed to take the necessary steps to dismiss this matter.

        IT IS SO ORDERED.

                                                          Loren A. Smith,
                                                          Senior Judge
